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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,
                                                   C.A. No. 1:25-cv-00168-UNA
                               Plaintiff,

                   -against-

KPLER HOLDING SA,

                               Defendant.


         MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF KAITLAND
                               KENNELLY

         Pursuant to D. Del. Local Rule 83.5 and the attached certification, counsel moves the

admission pro hac vice of Kaitland Kennelly of Cooley LLP to represent Defendant Kpler Holding

SA in this matter.


                                            RICHARDS, LAYTON & FINGER P.A.

                                            By: /s/ Jason J. Rawnsley
                                            Rudolf Koch (#4947)
                                            Jason J. Rawnsley (#5379)
                                            Matthew D. Perri (#6066)
                                            920 N. King Street
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                                            perri@rlf.com

Dated: February 14, 2025                    Attorneys for Defendant Kpler Holding SA




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                              ORDER GRANTING MOTION

         IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice of Kaitland

Kennelly is granted.

 DATE: _______________________             ______________________________________
                                           UNITED STATES DISTRICT JUDGE




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            CERTIFICATION OF COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. In accordance with the Standing Order for

District Court Fund effective January 1, 2024, I further certify that the fee of $50.00 will be

submitted to the Clerk’s Office upon the filing of this motion.

                                                  By: /s/ Kaitland Kennelly
                                                  Kaitland Kennelly
                                                  COOLEY LLP
                                                  55 Hudson Yards
                                                  New York, NY 10001
                                                  (212) 479-6000
 Dated: February 14, 2025                         kkennelly@cooley.com




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